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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO

 CRAIG WILSON, ERIC BELLAMY,
 KENDAL NELSON, and MAXIMINO                           Case No. 20-cv-0794
 NIEVES, on behalf of themselves and those
 similarly situated,                                   Judge James Gwin

                        Petitioners,
         v.

 MARK WILLIAMS, warden of Elkton
 Federal Correctional Institutions; and
 MICHAEL CARVAJAL, Federal Bureau of
 Prisons Director, in their official capacities,

                          Respondents.

                  PETITIONERS’ MEMORANDUM IN OPPOSITION TO
                    MOTION TO FILE UNDER SEAL AND EX PARTE

       Although the personal health information of the Medically-Vulnerable Subclass surely is

to be treated with appropriate discretion, Petitioners respectfully submit that the appropriate means

of doing so is a reasonable agreed protective order and, at most, narrow redactions of sensitive

information. In addition to Petitioners and counsel, potential class members—as well as their

family members, representatives, and attorneys—must be permitted to ascertain whether they are

on the list. Respondents ask that this Court seal every piece of information on the list, not only

from the general public, but from those who may be impacted. That request is overbroad and

unwarranted, and should be denied.

       Respondents’ motion to conduct the class identification process ex parte effectively asks

this Court to convert the remedial stage of this action into an inquisitorial, rather than adversarial,

process. Under Respondents’ ex parte approach, Petitioners and potential class members will be

unable will be in a position to assess if any individuals have been wrongly left off the list.

Petitioners Wilson, Bellamy, and Nelson, as well as other individual subclass members, would not

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know Respondents’ position as to whether each is a member of the subclass or not. Absent that

knowledge, they will be unable to provide any additional medical information to demonstrate that

they should be included, if Respondents chose to exclude them.

       Further, absent access not only to Respondents’ list, but their specific selection criteria—

not only who Respondents chose to include, but who they did not choose to include and why—

Petitioners will be unable to contest the criteria underlying Respondents’ decisions. It is vital that

Petitioners have that opportunity, in order to ensure that the relief prescribed by this Court is

delivered fairly and fully.

       Petitioners respectfully request that the Court deny Respondents’ motion, and schedule a

conference to discuss appropriate mechanisms to verify the completeness of Respondents’ list and

the subclass membership.

Dated: April 23, 2020

Respectfully submitted,

/s/ David J. Carey
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 23, 2020, the foregoing was filed with the Court’s CM/ECF

system. Notice of this filing will be sent by operation of that system to all counsel of record.

                                                      /s/ David J. Carey
                                                      David J. Carey (0088787)




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